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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


StandWithUs Center for Legal Justice,
Katerina Boukin, and Marilyn Meyers,

       Plaintiffs,
                                         Case No. 24-CV-10577-RGS
v.

Massachusetts Institute of Technology,

       Defendant.



               MEMORANDUM OF LAW IN SUPPORT OF
       DEFENDANT MASSACHUSETTS INSTITUTE OF TECHNOLOGY’S
                MOTION TO DISMISS THE COMPLAINT
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                                       INTRODUCTION

       The Massachusetts Institute of Technology (“MIT” or “the Institute”) fervently believes

antisemitism should have no place on the Institute’s campus or beyond. Since the brutal terrorist

attack that Hamas perpetrated in Israel on October 7, 2023, MIT—like many other institutions of

higher education—has been the site of student-led protests involving expression that is deeply

offensive to many in the MIT community. MIT is firmly committed to free expression as one of

its core principles, but as MIT’s President has explained, “there is a difference between what we

can say – that is, what we have a right to say – and what we should say,” and we must “find a way

to express our political views with a basic sense of respect and empathy for other members of our

community.” That principle is central to MIT’s mission as an educational institution and its

ongoing and substantial efforts to combat antisemitism.

       The Institute has taken broad and decisive action to address antisemitism over the past six

months. MIT’s leaders have swiftly and repeatedly condemned the October 7 attack and the rising

threat of antisemitism. The Institute has taken concrete steps to provide a safe and inclusive

environment for students and other community members—including increasing safety patrols,

providing supportive resources for students affected by the conflict in the Middle East or related

campus activism, and launching educational and community-building efforts, such as the new

Standing Together Against Hate initiative. MIT is also working to strengthen certain Institute

systems and processes, recognizing the delicate balance that is needed between protecting students

from harmful expression and upholding principles of free speech that are essential to academic

institutions. Where community members have violated Institute policies, MIT has taken remedial

actions including interim suspensions and referrals for additional disciplinary proceedings.

       This lawsuit largely ignores those efforts, advancing the extraordinary and unfounded



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claim that MIT is “deliberately indifferent” to antisemitism and even harbors discriminatory

animus against its Jewish and Israeli students. The plaintiffs—a California-based advocacy

organization and two MIT students it claims as members—allege that MIT has violated Title VI

of the Civil Rights Act of 1964. Based on their single-count Complaint, Plaintiffs claim entitlement

to money damages as well as sweeping and unprecedented injunctive relief that would compel

MIT to terminate tenured faculty members and staff, expel students, and ban student groups,

among many other demands. MIT reaffirms its ongoing commitment to combat antisemitism. But

this lawsuit is not the right way to address the concerns Plaintiffs raise here. For the following

reasons, the Complaint should be dismissed.

       First, the Complaint fails to state a claim against MIT for violating Title VI. Students

cannot sue educational institutions under the federal statute for the actions of fellow students,

faculty, or staff based on vicarious liability. They must plausibly allege an official policy by the

institution to discriminate, or a response to known and actionable harassment that is so clearly

unreasonable it amounts to an official decision not to remedy the violation. The Complaint does

not meet those rigorous legal standards. It fails to allege that either student reported the specific

experiences alleged in the Complaint before filing suit, much less that those experiences rise to the

level of actionable harassment under Title VI, or that MIT responded to them in a “clearly

unreasonable” manner. Courts have repeatedly dismissed deliberate-indifference claims based on

more extensive allegations than the five paragraphs of this Complaint detailing these students’

experiences, and they have rejected efforts to rely on the experiences of students who are not party

to the suit. Critically, courts also recognize “[t]he college classroom with its surrounding environs

is peculiarly the marketplace of ideas,” Healy v. James, 408 U.S. 169, 180 (1972), and that

fulfilling Title VI obligations to some students does not require trammeling freedom of expression




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for others. While the Complaint tries to circumvent these standards by alleging direct and

intentional discrimination by MIT itself, there are no plausible allegations that MIT took an

adverse action against any Plaintiff, much less that it acted out of discriminatory animus.

       Second, the Complaint fails to clearly establish this Court’s subject-matter jurisdiction in

several respects. Plaintiffs lack standing for the sweeping injunctive relief they seek: they do not

plausibly allege they will suffer future harm inflicted by MIT (as opposed to potential harm by

other students or student groups), and their requested relief far exceeds what is necessary to address

the injuries they claim. In addition, the advocacy group lacks standing altogether: this Title VI

claim requires the participation of individuals, defeating associational standing, and an advocacy

group cannot pursue damages claims for its members. Even more basic, this challenge is not ripe

for adjudication. MIT is actively responding to recent reports alleging antisemitism, meaning that

relevant facts—and MIT’s response—continue to be developed. Plaintiffs concede this point,

noting that disciplinary actions are ongoing and outcomes are “unknown at this time.” In light of

this concession, the suit is premature. Courts in this Circuit have never required an institution to

defend the adequacy of its response while that response is in progress.

                                         BACKGROUND

       Plaintiffs are two MIT students and a California-based advocacy organization,

StandWithUs Center for Legal Justice (“SCLJ”). Compl. ¶¶ 14-17. According to the Complaint,

SCLJ works to combat antisemitism “through impact litigation and other legal actions,” and its

“members include current Jewish and/or Israeli MIT undergraduate and graduate students and

alumni.” Id. ¶ 14. The only members named in the Complaint are Plaintiffs Katerina Boukin and

Marilyn Meyers, and only a handful of the Complaint’s 236 paragraphs describe the experiences

of the two students in whose names this action is prosecuted. Id. ¶¶ 141, 188, 203, 218-219.




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       Plaintiff Boukin, “a Jewish Israeli graduate student,” id. ¶ 16, alleges three specific

experiences. First, she contends that she and another student “were required to remove” Israeli

flags they displayed on campus, even while “MIT administrators have allowed Palestinian flags to

remain on campus.” Id. ¶¶ 203-204. Plaintiff Boukin does not say who required her to remove the

flags, when, or why; nor does she allege that she was subject to any discipline. Moreover, she

acknowledges that MIT has a policy regulating the display of banners and flags on campus. Id.

¶ 205 & n.110. Second, she alleges that she was “subjected to antisemitic chants and violent

speech” at campus protests and “prohibited from freely moving through the space” where these

protests occurred. Id. ¶ 219. She alleges that on one occasion, she and other MIT students were

“surrounded” by members of a student group, who shouted the phrase “from the river to the sea,”

which she “understood to be calling for the elimination of Israel.” Id. Third, she alleges that student

groups sent emails with unspecified “antisemitic language,” which she received at her MIT email

account. Id. The Complaint does not allege that Plaintiff Boukin ever complained to an MIT

official about any of these experiences, much less how MIT responded to any such complaints.

       Plaintiff Meyers, “a Jewish undergraduate student,” id. ¶ 15, alleges two particular
             1
experiences. First, she alleges that she was present at a rally during which an unidentified

protester—with no alleged connection to the MIT community—“raised the front wheels of his bike

at” her and another Jewish student and said, “Your ancestors [(referring to Holocaust victims)]

didn’t die to kill more people,” id. ¶ 141. Second, she alleges that she “was the recipient of

antisemitic comments by other students on campus.” Id. ¶ 218. According to Plaintiff Meyers, she

contacted MIT’s Institute Discrimination & Harassment Response Office (“IDHR”) and “was



1
 The Complaint refers to this student as both “Meyers” (case caption) and “Meyer” (Compl. ¶¶ 15,
141, 188, 218). MIT uses the surname Meyers, as there is no “Marilyn Meyer” currently enrolled.


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falsely told that she was not a member of a protected class and, subsequently, that what she

experienced is not within the scope of the IDHR.” Id. Plaintiff Meyers does not allege that she

reported the specific incident with the protester to IDHR or other MIT officials.

       The Complaint also references “SCLJ Member #1,” “a Jewish undergraduate student

currently enrolled at MIT.” Id. ¶ 17. The sole paragraph about him alleges that he received

“antisemitic emails” from various student groups and was “subjected to antisemitic rhetoric in

various common spaces on MIT’s campus.” Id. ¶ 220. The Complaint does not allege whether this

student reported any of this expression to MIT or, if he did, how the Institute responded.

       Plaintiffs allege that MIT violated Title VI. Id. ¶¶ 222-236. They seek sweeping injunctive

relief as well as compensatory and punitive damages. Id. at 70-71. Their prayer for relief demands

various actions that the Complaint acknowledges MIT has already taken, such as condemning

antisemitism and educating the community about it. Compare id., with Compl. Ex. A at 10-11, 13.

But Plaintiffs also seek a host of specific remedial measures, such as firing faculty members,

expelling students, and banning student groups. Id. at 70-71.

                                      LEGAL STANDARD

       Under Rule 12(b)(6), a complaint must be dismissed if it fails to allege “enough facts to

state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). In assessing plausibility, the court does not credit “mere conclusory statements” or “‘naked

assertions’ devoid of ‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 555, 557). Beyond well-pleaded factual allegations, the court may

consider documents “‘integral’ to assessing the sufficiency of the allegations in the complaint,”

Clorox Co. P.R. v. Proctor & Gamble Com. Co., 228 F.3d 24, 32 (1st Cir. 2000), or “fairly

incorporated into the complaint,” Schatz v. Republican State Leadership Comm., 669 F.3d 50, 55-




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56 (1st Cir. 2012). The court may also consider facts “susceptible to judicial notice,” id., including

information available on public websites, see, e.g., In re Fin. Oversight & Mgmt. Bd. for Puerto

Rico, 60 F.4th 9, 13 (1st Cir. 2013); Doe v. Standard Ins. Co., 852 F.3d 118, 124 (1st Cir. 2017);

Spottiswoode v. Son, 593 F. Supp. 2d 347, 350 (D. Mass. 2009) (Stearns, J.).

       Under Rule 12(b)(1), a court must dismiss any claim or request for relief over which it

lacks subject-matter jurisdiction, including where the plaintiff lacks standing to pursue its claims

or where the plaintiff’s dispute is unripe. Reddy v. Foster, 845 F.3d 493, 499-500 (1st Cir. 2017).

The court is not limited to the pleadings in evaluating a Rule 12(b)(1) motion. Boniface v. Viliena,

338 F. Supp. 3d 50, 60 (D. Mass. 2018) (internal quotation marks omitted).

                                           ARGUMENT

I.     The Complaint Should Be Dismissed For Failure To State A Claim.

       Plaintiffs bring a single count alleging that MIT violated Title VI, which prohibits

discrimination based on race, color, and national origin in programs receiving federal funding. 42

U.S.C. § 2000d. The statute charges federal agencies with enforcing this provision against their

funding recipients. Id. § 2000d-1. In addition to that primary enforcement mechanism, the

Supreme Court has recognized an implied private right of action to obtain injunctive relief and

monetary damages. See Alexander v. Sandoval, 532 U.S. 275, 279 (2001). But it has limited such

claims in several key respects, recognizing that Spending Clause statutes like Title VI and Title

IX—which impose conditions on federal funding—are categorically different from Commerce

Clause statutes like Title VII that prohibit discrimination outright. Gebser v. Lago Vista Indep.
                                             2
Sch. Dist., 524 U.S. 274, 284-89 (1998). A Title VI plaintiff can sue only for intentional


2
 “Title IX was patterned after Title VI,” Cannon v. Univ. of Chicago, 441 U.S. 677, 694-95 (1979),
and these “statutes have been consistently interpreted interchangeably,” Doe v. Town of Stoughton,
917 F. Supp. 2d 160, 165 n.3 (D. Mass. 2013) (collecting cases).


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discrimination by the funding recipient itself and cannot rely on vicarious liability or constructive

notice. Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 643 (1999).

Liability requires an “official policy of the recipient entity” to discriminate, or, once the recipient

is informed of unlawful discrimination, an “official decision by the recipient not to remedy the

violation”—a theory of liability known as “deliberate indifference.” Gebser, 524 U.S. at 290-91.

       Deliberate indifference is a “stringent standard of fault.” Porto v. Town of Tewksbury, 488

F.3d 67, 73 (1st Cir. 2007). A plaintiff must plausibly allege five elements, each necessary to

“eliminate any risk that the recipient [of federal funds] would be liable in damages not for its own

official decision but instead for [others’] independent actions.” Santiago v. Puerto Rico, 655 F.3d

61, 73 (1st Cir. 2011) (quoting Davis, 526 U.S. at 643). Those elements are: “(1) ‘[the plaintiff]

was subject to severe, pervasive, and objectively offensive … harassment’; (2) ‘the harassment

caused the plaintiff to be deprived of education opportunities or benefits’; (3) the funding recipient

was aware of such harassment; (4) the harassment occurred ‘in [the funding recipient’s] programs

or activities’; and (5) the funding recipient’s response, or lack thereof, to the harassment was

‘clearly unreasonable.’” Doe v. Brown Univ., 896 F.3d 127, 130 (1st Cir. 2018) (quoting Porto,

488 F.3d at 72-73).

       The “clearly unreasonable” standard precludes a court from second-guessing a school’s

response unless it rises to the level of an abject institutional failure. The “inquiry is limited to

‘whether the school’s actions were so lax, so misdirected, or so poorly executed as to be clearly

unreasonable under the known circumstances.’” M.L. ex rel. D.L. v. Concord Sch. Dist., 86 F.4th

501, 511 (1st Cir. 2023) (quoting Fitzgerald v. Barnstable Sch. Comm., 504 F.3d 165, 175 (1st

Cir. 2007), rev’d and remanded on other grounds, 555 U.S. 246 (2009)). “[F]unding recipients are

not required to have perfect foresight or manage all student interactions expertly,” Doe v.




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Pawtucket Sch. Dep’t, 969 F.3d 1, 9 (1st Cir. 2020), and “a claim that the [institution] could or

should have done more is insufficient to establish deliberate indifference,” Porto, 488 F.3d at 73.

This “is not a mere reasonableness standard” and, consistent with the Supreme Court’s directive

that it can be decided “as a matter of law,” Davis, 526 U.S. at 648-49, courts in this district have

repeatedly rejected deliberate-indifference claims at the pleadings stage, see, e.g., Pollard v.

Georgetown Sch. Dist., 132 F. Supp. 3d 208, 229-31 (D. Mass. 2015); Bray v. Worcester

Polytechnic Inst., 596 F. Supp. 3d 142, 156-57 (D. Mass. 2022); Raso v. Lago, 958 F. Supp. 686,

703-04 (D. Mass. 1997), aff’d on other grounds, 135 F.3d 11 (1st Cir. 1998); see also Keskinidis

v. Univ. of Mass. Bos., 76 F. Supp. 3d 254, 260 & n.3 (D. Mass. 2014) (Stearns, J.).

       The Complaint fails to state a claim under these well-established standards. It concedes—

but then largely ignores—MIT’s extensive engagement with reports of antisemitism, which has

included repeatedly condemning antisemitism and some of the rhetoric used on campus, improving

safety and security resources on campus, addressing violations of Institute policies through

discipline and otherwise, and launching multiple Institute-wide efforts to combat antisemitism. No

court has allowed a deliberate-indifference claim in circumstances remotely resembling these, let

alone with such sparse allegations as to how the student-plaintiffs’ own personal experiences

amount to harassment as defined by Title VI. Nor can Plaintiffs circumvent these demanding

standards by claiming that MIT itself directly and intentionally discriminated against them.

       A.      As The Complaint Concedes, MIT Is Actively Responding To Reports.

       The Complaint downplays MIT’s robust and ongoing response to reports of antisemitism

on campus, see, e.g., Compl. ¶¶ 162, 165-169, 199, 205-206, but its allegations and exhibit, as well

as MIT’s public communications, confirm that MIT is fully engaged in responding to these reports.

       To start, within days of the atrocities committed by Hamas on October 7, MIT’s President




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issued a campus-wide statement forcefully condemning antisemitism—the first of several

communications from MIT leaders responding to the October 7 attack and its impact on campus.
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Exs. 1 & 2. At the same time, MIT acknowledged reports of students “feel[ing] unsafe on campus”

“because of their Jewish faith, or their ties to Israel,” and cautioned that “the rhetoric on our own

campus [must] not escalate to the point of personal attacks, harassment or violence.” Ex. 1.

        Just two days later, MIT again addressed the community and provided “guidelines and

policies that enable us to live together in community.” Ex. 3. It instructed students how to report

concerns about “the content of a poster, chalking, or similar display,” and reiterated that “[s]peech

or behavior that amounts to harassment and acts (or threats of) violence, against individuals or

groups, are against MIT policy.” Id. In addition, MIT recognized that students might “benefit from

support or a listening ear,” and provided a host of support resources and safety measures. Id.

        As student protest activity intensified in October and November, MIT anticipated, prepared

for, and responded to incidents in real time. For example, on the eve of a campus protest expected

on November 9, MIT issued a community-wide broadcast acknowledging “intense reaction and

public activism within our community” and emphasizing “a profound responsibility to protect

MIT’s ability to advance its mission, and to make sure that no one on campus feels afraid for their

safety.” Ex. 4; see also Compl. ¶ 205. MIT once again condemned antisemitism and highlighted

“policies and procedures for keeping our campus safe,” which included (1) “enhanced campus

security measures and patrols” as well as MIT Police’s cooperation “with federal, state, and local

officials”; (2) published guidelines on “events, vigils, rallies, postering, flags, and banners”; (3) the

creation of an Ad Hoc Complaint Response Team to address reports relating to the Middle East



3
 All numbered exhibits are to the Declaration of Jaren D. Wilcoxson filed in conjunction with this
Motion to Dismiss.


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conflict; (4) clarification about the limits of free expression and the importance of “consider[ing]

the impact of our speech on others”; and (5) events and resources across campus to promote

“comfort, compassion, patience and goodwill.” Ex. 4.

        MIT also responded promptly and directly to the November 9 protest itself, which features

prominently in the Complaint. See Compl. ¶¶ 155-169. In a same-day community-wide statement,

MIT explained its efforts to de-escalate the situation as it unfolded and reaffirmed its policy that

“the time, place, and manner of protected expression, including organized protests, may be

restrained so as not to disrupt the essential activities of the Institute.” Ex. 5; see also Compl. ¶¶ 167,

169. In February, when the Coalition Against Apartheid (“CAA”) continued to violate Institute

rules, MIT suspended CAA as a recognized student organization pending a formal disciplinary

proceeding. Ex. 6; see also Compl. ¶ 113 n.63 (“provisionally suspend[ing]” CAA); Compl. Ex.

A at 23 (quoting MIT’s announcement). As MIT’s President explained, this immediate action

barred CAA from reserving space on campus, using MIT facilities, receiving student group

funding, and organizing “any further protests or demonstrations anywhere on our campus.” Ex. 6.

Moreover, while Institute policy and federal law prohibit MIT from divulging the details of

individual student disciplinary cases, MIT has taken disciplinary action against individuals who

have violated MIT policies and has communicated with its community about its handling of

incidents stemming from the Israel/Hamas conflict, including the number of cases in various stages

of the complaint-resolution process. Ex. 7 (identifying 36 cases as of April 12, 2024).

        MIT has also moved to strengthen its policies, practices, and campus climate to meet this

difficult moment. In November, MIT created an Institute-wide initiative called Standing Together

Against Hate (“STAH”) to “spearhead efforts to combat antisemitism at MIT.” Ex. 8; see also

Compl. Ex. A at 13 (referencing announcement of STAH). STAH’s work around education,




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dialogue, and community-building has included multiple trainings on antisemitism as well as

“small group facilitated conversations” in residence halls, online resources for managing sensitive

conversations, and new funding for community-building projects. Ex. 9. In January, MIT

announced several other “Institute-level actions” to assess how MIT handles complaints of student

misconduct, examine how MIT balances principles of free expression with protection from

discrimination and harassment, and review how MIT fosters a welcoming environment for all. Ex.

10. MIT has also detailed ongoing efforts aimed at “rebuilding trust and caring for our

community,” including additional STAH “lectures, discussions, classes and community-building

efforts,” and the Center for Constructive Communication’s facilitated discussion programs. Id.

       All the while, MIT has been clear: “Antisemitism is real, and it is rising in the world. We

cannot let it poison our community.” Ex. 8. While it is “legitimate to criticize the policies of any

government, including the current government of Israel – as indeed many Israelis do,” it is never

acceptable “to vilify and shun Israeli and Jewish members of our community.” Ex. 6.

       B.      The Complaint Fails To Plausibly Allege Deliberate Indifference By MIT.

       First, the Complaint fails the most basic requirement of a Title VI claim because it does

not allege Plaintiffs reported actionable harassment to an appropriate MIT official. Under this

cause of action, “constructive knowledge is plainly insufficient.” Pawtucket Sch. Dep’t, 969 F.3d

at 7. A plaintiff must allege actual notice to “an official who at a minimum has authority to address

the alleged discrimination and to institute corrective measures on the recipient’s behalf.” Gebser,

524 U.S. at 290. The Complaint does not allege Plaintiff Boukin made any complaint, which

dooms her claim. See Doe v. Pike Sch., Inc., No. 13-CV-11730, 2014 WL 413207, at *3-4 (D.

Mass. Feb. 4, 2014) (Stearns, J.). As for Plaintiff Meyers, the Complaint alleges only that she made

a general report about antisemitism, Compl. ¶ 188—not what she said, including whether it




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encompassed the experiences alleged in the Complaint. “The missing ingredient is whether an

appropriate person had actual knowledge of the suspected harassment,” and without that

ingredient, there can be no violation. Santiago, 655 F.3d at 75.

       Second, even assuming the requisite notice, the Complaint does not plead a “clearly

unreasonable” response. Plaintiffs do not and cannot claim that MIT “fail[ed] to take any action to

stem the tide” of the antisemitism that they allege, Pawtucket Sch. Dep’t, 969 F.3d at 9-10

(emphasis supplied), so they must plausibly allege that MIT’s actions are clearly unreasonable

under an objective standard. In cases alleging deliberate indifference to antisemitism, courts have

pointed to several factors also present here as precluding liability—including that the university

responded to “wrongful conduct otherwise not amounting to protected speech,” took action against

“disruptive protestors,” and “engaged in an ongoing dialogue with the opposing parties in an

attempt to ensure that the rights of all persons are respected, and to minimize the potential for

violence and unsafe conditions.” Felber v. Yudof, 851 F. Supp. 2d 1182, 1188 (N.D. Cal. 2011).

Courts have also relied on actions like forming working groups to combat antisemitism and

dedicating personnel to address campus climate. Mandel v. Bd. of Trs. of Cal. State Univ., No. 17-

CV-03511, 2018 WL 5458739, at *24 (N.D. Cal. Oct. 29, 2018). Plaintiffs do not dispute “that

[MIT] has taken steps to address their concerns”; rather, they “contend those steps have been

ineffectual.” Id. Such criticism fails to plausibly allege a “clearly unreasonable” response.

       Plaintiffs likewise cannot use Title VI “to make particular remedial demands.” Davis, 526

U.S. at 648. While the Complaint insists that “Plaintiffs do not base their claims on a challenge of

the Institute’s disciplinary decisions,” Compl. ¶ 169 n.92, it repeatedly criticizes MIT’s actions in

this regard, see, e.g., id. ¶¶ 169-70, 205, 217, and demands extensive punitive actions, from

“terminating administrators, professors, or other university employees or staff” to “suspending or




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expelling students and/or student groups,” id. ¶ 11. “Plaintiffs are obviously upset” about their

perception that certain members of the MIT community have not faced particular consequences,

but MIT cannot short-circuit its disciplinary process to mete out “the precise remedy that

[Plaintiffs] would prefer.” Mandel, 2018 WL 5458739, at *24. Ultimately, their “own allegations

show that [MIT] is not ignoring the hostile environment alleged by [P]laintiffs, but at most assert

that [MIT]’s responses were not sufficient to satisfy [P]laintiffs and that some of the processes are

still ongoing.” Id. at *25. That does not make out a deliberate-indifference claim. Id.

       Recent decisions from analogous deliberate-indifference contexts reinforce this result. In

Doe v. Sacks, for example, a student at New York University was named in a “Blacklist” accusing

NYU students of sexual misconduct. No. 23-CV-1307, __F. Supp. 3d__, 2024 WL 402945, at *1

(S.D.N.Y. Feb. 2, 2024). He sued the university, claiming that its response to his complaints about

the list was clearly unreasonable. Id. at *6. The court acknowledged that while the student “may

certainly wish that NYU had gone to greater lengths to identify and discipline the creators of the

spreadsheet,” the university “took the steps it could to respond to Plaintiff’s reports about the

spreadsheet,” which included supportive resources, academic accommodations, and a public

statement, among others. Id. Moreover, “had NYU acceded to Plaintiff’s demand to identify and

to pursue disciplinary action against the students who allegedly created the spreadsheet, the

University could find itself in the precarious position of … impermissibly restricting students’

speech-protected values.” Id. at *7. The same reasoning applies here. MIT has indisputably

responded to reports of antisemitism. The particular response Plaintiffs demand is not required to

satisfy MIT’s Title VI obligations and could trammel the rights of other community members. As

in Doe v. Sacks, “it would be entirely reasonable for [MIT] to refrain from a form of disciplinary

action that would expose it to” potential claims from other students. Davis, 526 U.S. at 649.




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       The allegations here are also readily distinguishable from other instances in which

deliberate-indifference allegations survived a motion to dismiss. For example, in Doe v. Pawtucket

School Department, the First Circuit found adequate allegations under Title IX where a thirteen-

year-old plaintiff “alleged that she was assaulted in physical education class and then raped two

times in the subsequent months.” 969 F.3d at 10. School officials “did nothing in response to

learning” about the first rape, which made her vulnerable to the second rape. Id. at 8. On those

allegations, the court found it “plausible that [school] officials disregarded a known or obvious

consequence of [their] action or inaction and thus contributed to her likelihood of sexual assault

and rape.” Id. at 10 (internal quotation marks omitted). The egregious institutional failures alleged

in Doe v. Pawtucket School Department underscore the high bar for pleading deliberate-

indifference claims, and they are a far cry from anything Plaintiffs have alleged against MIT.

       Third, the handful of allegations about Plaintiffs Boukin and Meyers do not meet the

statutory standard for actionable harassment. Title VI covers only harassment that is “so severe,

pervasive, and objectively offensive” that it “ha[s] the systemic effect” of “den[ying] equal access

to the institution’s resources and opportunities.” Brown Univ., 896 F.3d at 132-33 (quoting Davis,

526 U.S. at 650-52). This is a high bar, and courts have repeatedly dismissed deliberate-

indifference claims for failing to clear it. This case demands the same result.

       In Pollard v. Georgetown School District, the student alleged he was “regularly

emotionally, physically, and verbally bullied and abused,” including because of his Jewish

identity. 132 F. Supp. 3d at 218. His peers mocked him “with snide comments about Jews being

massacred and stat[ements] that the Holocaust was unsuccessful because [his] family survived.”

Id. Notwithstanding these disturbing allegations, the court concluded that the complaint lacked

“sufficient, non-conclusory factual allegations that the harassment was severe and pervasive.” Id.




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at 230. “Although the comments here were certainly objectively offensive”—and, unlike virtually

all of the allegations in this case, were specifically directed at an individual—they did not “meet

the high standard of severity or pervasiveness under well-developed case law.” Id. at 230-31.

       Decisions from other courts are in accord. In Felber v. Yudolf, the Jewish plaintiffs alleged

harassment and intimidation by two pro-Palestinian student groups. 851 F. Supp. 2d at 1184. Those

groups orchestrated several disruptive protests and a campus event called “Apartheid Week,”

during which they “set up ‘check points,’ at which students dressed as soldiers and carrying

‘realistic-looking’ simulated ‘assault weapons’ challenge[d] passing students, demanding them to

state whether they are Jewish or not.” Id. The court found these deeply troubling allegations

insufficient to establish that the plaintiffs were denied equal access to resources and opportunities.

“[A] very substantial portion of the conduct to which plaintiffs object represents pure political

speech and expressive conduct,” the court explained, and the plaintiffs “appear[ed] to be

attempting to draw an untenable line that would remove from protection signs and publications

that are critical of Israel and supportive of Hamas and Hezbollah.” Id. at 1188. In addition, “a

broad swath of the conduct alleged occurred at times and in places where plaintiffs were not

present,” such that it could not “demonstrate that plaintiffs suffered severe and pervasive

harassment.” Id. (emphasis supplied). And those plaintiffs had “not alleged facts showing that they

were denied access to the University’s educational services in any meaningful sense.” Id.

       Here, the Complaint offers far less than the insufficient pleadings in Pollard and Felber.

Plaintiff Boukin alleges that she witnessed “antisemitic chants” and “antisemitic rhetoric” during

protests, and that emails from student groups “contained antisemitic language.” Compl. ¶ 219.

While troubling, these allegations are conclusory, describe experiences that likely involve

protected expression, and at any rate do not rise to the level of actionable harassment under Title




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VI, particularly where none were alleged to focus on Plaintiff Boukin individually. The same is

true for Plaintiff Meyers, whose only specific harassment allegation is a single encounter involving

an antisemitic remark by an unidentified individual with no alleged connection to MIT. Id. ¶ 141.

Isolated incidents like these cannot sustain a claim. See H.B. v. Monroe Woodbury Cent. Sch. Dist.,

No.11-CV-5881, 2012 WL 4477552, at *15 (S.D.N.Y. Sept. 27, 2012). In addition, like the

students in Felber, neither Plaintiff plausibly alleges “facts showing that they were denied access

to the University’s educational services in any meaningful sense.” 851 F. Supp. 2d at 1188.

       Nor can Plaintiffs base their claims on generalized allegations regarding the experiences of

Jewish and/or Israeli students who are not parties here. See, e.g., Compl. ¶¶ 135, 137, 157-158,

160-161, 190. Felber rejected a similar effort, and with good reason: Plaintiffs must demonstrate

that they “suffered severe and pervasive harassment.” 851 F. Supp. 2d at 1188. What is more, many

of the Complaint’s allegations involve “language that [P]laintiffs believe was inflammatory,

offensive, or untrue” but that nonetheless constitutes “protected speech.” Id. The U.S. Department

of Education’s Office for Civil Rights—the federal agency charged with enforcing Title VI against

educational institutions—has repeatedly recognized that Title VI must be interpreted and applied

to “comport with First Amendment principles,” meaning the statute does not “require recipients to
                                                                            4
enact or enforce codes that punish the exercise of [free expression] rights.” This limitation applies

on public and private campuses alike, and it demands “something beyond the mere expression of
                                                                                                    5
views, words, symbols or thoughts that some person finds offensive” for actionable harassment.


4
 Office for Civil Rights, Dear Colleague Letter: Discrimination, Including Harassment, Based
on Shared Ancestry or Ethnic Characteristics, U.S. Dep’t of Educ. (Nov. 7, 2023), https://www2.
ed.gov/about/offices/list/ocr/letters/colleague-202311-discrimination-harassment-shared-
ancestry.pdf.
5
 Office for Civil Rights, First Amendment: Dear Colleague, U.S. Dep’t of Educ. (July 28, 2003),
https://www2.ed.gov/about/offices/list/ocr/firstamend.html.


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Plaintiffs’ theory belies that federal guidance and would “have serious First Amendment

implications.” Guckenberger v. Bos. Univ., 957 F. Supp. 306, 316 (D. Mass. 1997).

       C.      The Complaint Fails To State A Claim For Direct Discrimination.

       Having failed to demonstrate deliberate indifference, Plaintiffs also fail to state a violation

of Title VI by making the extraordinary claim that MIT directly and intentionally discriminated

against them because they are Jewish and/or Israeli. Compl. ¶¶ 228, 230-232. This theory requires

students to plausibly allege—among other elements—that a school took some adverse school-

related action against them, such as expulsion, see Saravanan v. Drexel Univ., No. 17-CV-3409,

2017 WL 5659821, at *8 (E.D. Pa. Nov. 24, 2017), or being dropped from an academic program,

Brewer v. Bd. of Trs. of Univ. of Ill., 479 F.3d 908, 921 (7th Cir. 2007). The Complaint alleges

nothing of the sort. While Plaintiff Boukin avers that she was required to remove Israeli flags while

other flags remained, Compl. ¶¶ 203-204, she does not allege that she was disciplined in any way

that could plausibly constitute an adverse school-related action. Plaintiff Meyers alleges that IDHR

told her that her report of antisemitism was not within that office’s scope, id. ¶ 218, a mistaken

understanding of IDHR’s guidance that does not fall within the categories of adverse actions either.

       Even more fundamentally, the Complaint fails to allege intent to discriminate by MIT.

“Vicarious liability is unavailable under Title VI,” so a student cannot establish discrimination by

pointing to actions or omissions by peers or professors. Ingram v. Kubik, 30 F.4th 1241, 1258 (11th

Cir. 2022); see also, e.g., Jones v. City of Detroit, 20 F.4th 1117, 1121 (6th Cir. 2021). To show

intentional discrimination by the funding recipient itself, the student must plausibly allege an

official policy of the recipient to discriminate. Gebser, 524 U.S. at 290. “In other words, a school

faces liability only when it intentionally does something wrong ….” Langadinos v. Appalachian

Sch. of L., No. 05-CV-00039, 2005 WL 2333460, at *10 (W.D. Va. Sept. 25, 2005). Factual




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allegations like those offered here “focus[ing] on the [recipient’s alleged] omissions, rather than

on any intentional decision to discriminate,” cannot state a claim for direct discrimination by MIT.

Id.; see Compl. ¶ 231 (alleging “inaction” in connection with direct-discrimination theory).

       At bottom, the Complaint is bereft of plausible allegations that MIT was motivated by an

intent to discriminate against Jewish and/or Israeli students. See Goodman v. Bowdoin Coll., 380

F.3d 33, 43 (1st Cir. 2004) (explaining that “direct or circumstantial evidence of racial animus” is

“a necessary component” of Title VI claim). The Complaint lacks any direct evidence of the

requisite animus, and its allegations are far too vague to permit the inference that Plaintiffs Boukin

or Meyers were treated worse than peers who were similarly situated in all relevant respects due

to intentional discrimination. See Doe v. Brown Univ., 43 F.4th 195, 207 (1st Cir. 2022) (requiring

apples-to-apples comparison to establish such intent). MIT has repeatedly condemned

antisemitism and taken concrete steps to address it, rendering implausible any claim that MIT as

an institution harbors discriminatory animus against its Jewish or Israeli students. Cf. Doe v. Trs.

of Bos. Coll., 892 F.3d 67, 84 (1st Cir. 2018) (“alleged prejudice” on the part of university officials

“must be based on more than mere speculation and tenuous inferences”).

II.    The Complaint Should Be Dismissed For Lack Of Subject-Matter Jurisdiction.

       A.      Plaintiffs Fail To Satisfy The Requirements Of Standing.

       Plaintiffs do not and cannot “clearly allege” facts establishing the “irreducible

constitutional minimum” of Article III standing: that they “have (1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

Plaintiffs bear this burden “for each claim that they press and for each form of relief that they seek

(for example, injunctive relief and damages).” Roe v. Healey, 78 F.4th 11, 20 (1st Cir. 2023)

(quoting TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021)). Here, none of the Plaintiffs


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demonstrates standing for the extensive injunctive relief demanded, and SCLJ lacks standing

altogether because individual participation of SCLJ’s members is required for this Title VI claim.

               1.      All Plaintiffs Lack Standing For Their Sweeping Injunctive Relief.

       First, Plaintiffs do not allege facts clearly demonstrating future harm. Injunctive relief is

an equitable remedy reserved for circumstances where there is a “real or immediate threat that the

plaintiff will be wronged again.” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). Unlike

the typical injunctive-relief case, Plaintiffs do not target an allegedly discriminatory policy as the

cause of their injury. They claim entitlement to forward-looking relief based on past incidents of

alleged harassment, which took place months ago. But “merely invoking the possibility” that past

incidents could recur “is not enough to show that they are ‘certainly impending’ or that there is a

‘substantial risk’ that they will occur.” Roe v. Healey, 78 F.4th at 21 (quoting Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 410, 414 & n.5 (2013)). In this case, as in Roe v. Healey, possible

recurrence hinges on a highly speculative chain of hypothetical events about what students will do

and how the institution will respond, which is simply “too attenuated” to establish standing. Id. at

421. Moreover, MIT’s robust and ongoing response to reports of antisemitism on campus makes

the allegation of future harm not just speculative but also implausible. See supra at 8-11.

       Plaintiffs cannot evade their burden by aggregating the purported experiences of students

who are not parties here or by pointing to antisemitism throughout history. Compl. ¶¶ 135, 137,

161, 196, 221; see Bingham v. Massachusetts, 616 F.3d 1, 7 (1st Cir. 2010). For standing, injury

must be “particularized,” meaning “it must affect the plaintiff[s] in a personal and individual way.”

Spokeo, 578 U.S. at 339. “[A]ggregating the allegations” of various individuals does not suffice.

ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989). The Court’s analysis is therefore limited to the

allegations about Plaintiffs Boukin and Meyers, which do not permit the inference of a continuing




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campaign of antisemitism directed at them. Accordingly, “it is surely no more than speculation”

that they “will again be involved in one of those unfortunate instances.” Lyons, 461 U.S. at 108.

MIT recognizes the real and damaging effects that antisemitic incidents can have on its students

and is committed to responding to reports regardless of whether they are likely to recur. But for

purposes of litigation, “emotional consequences of a prior act simply are not a sufficient basis for

an injunction absent a real and immediate threat of future injury by the defendant.” Id. at 107 n.8.

       Second, Plaintiffs do not allege facts clearly demonstrating that MIT itself will cause any

future harassment or discrimination. Plaintiffs cannot rely on injuries caused by third parties or

off-campus events to establish standing for a suit against MIT. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992). Equal Means Equal v. Ferriero underscores this point. The plaintiffs in that case

lacked standing because they sought “relief from the conduct of a defendant who stands well

removed from the person who would directly inflict [the] harm” they alleged. 3 F.4th 24, 28 (1st

Cir. 2021). The same is true here. In paragraph after paragraph, the Complaint criticizes the words

and actions of students and student groups. But MIT is not vicariously liable for their actions; its

Title VI responsibility is to respond to actionable harassment in a way that is not clearly

unreasonable. See supra at 6-8. The Complaint acknowledges MIT’s ongoing response, and it is

speculative and implausible for Plaintiffs to assert that MIT will not continue its robust response.

       Third, Plaintiffs do not allege facts clearly demonstrating that the requested relief is

necessary to redress their purported injuries. Their demands are not remotely “limited to the

inadequacy that produced [any] injur[ies] in fact.” Gill v. Whitford, 585 U.S. 48, 66 (2018). Indeed,

while the allegations about Plaintiffs Boukin and Meyers are limited to five paragraphs about

particular incidents, the prayer for relief addresses virtually every aspect of MIT’s campus and

operations—education and training, campus communications, policy formulation and application,




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personnel decisions, student-organization management, and student discipline. Compl. at 70-71.

“The desire to obtain sweeping relief cannot be accepted as a substitute for compliance with the

general rule that the complainant must present facts sufficient to show that his individual need

requires the remedy for which he asks.” Schlesinger v. Reservists Comm. to Stop the War, 418

U.S. 208, 221-22 (1974). Where, as here, plaintiffs request “broad and all-embracing relief” that

is incongruous with their asserted injury, the proper result is dismissal for lack of standing. See,

e.g., Beaudoin v. Healey, __ F. Supp. 3d __, 2023 WL 7116711, at *3 (D. Mass. Oct. 27, 2023).

               2.      SCLJ Lacks Standing Entirely.

       SCLJ does not allege any direct injury suffered as an organization; rather, it stakes its

standing on injury allegedly suffered by its members. For associational standing, an organization

must show that “neither the claim asserted nor the relief requested requires the participation of

individual members in the lawsuit.” United Food & Com. Workers Union Loc. 751 v. Brown Grp.,

Inc., 517 U.S. 544, 551-53 (1996) (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S.

333, 343 (1977)). But the Title VI claim alleged here is a paradigmatic example of a claim

requiring individual participation. It demands evidence that a particular student experienced a

hostile educational environment, reported it to an appropriate official at the funding recipient, and

experienced a clearly unreasonable response, among other elements. See supra at 6-8, 11-17.

       This type of “individualized proof” defeats associational standing. “[A]djudication of the

claims … would turn on facts specific to each student,” and “[e]fficient and successful judicial

resolution of the claims would thus require participation and cooperation by numerous students.”

Parent/Pro. Advoc. League v. City of Springfield, 934 F.3d 13, 35 (1st Cir. 2019) (rejecting

associational-standing theory in ADA action); see also, e.g., Barnett v. Johnson City Sch. Dist.,

No. 04-CV-0763, 2005 WL 8178066, at *5 n.6 (N.D.N.Y. Feb. 2, 2005) (questioning “how such




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claims of intentional discrimination could be prosecuted without the participation of the individual

members”). That is why deliberate-indifference claims ordinarily involve a single plaintiff, see,

e.g., Davis, 526 U.S. 629; Pollard, 132 F. Supp. 3d 208; Bray, 596 F. Supp. 3d 142, and why, in

multi-plaintiff suits, courts parse whether each individual student experienced harassment that was

sufficiently severe and pervasive to interfere with access to education, see, e.g., Demoret v.

Zegarelli, 451 F.3d 140, 145-47 (2d Cir. 2006); L. L. v. Evesham Twp. Bd. of Educ., 710 F. App’x

545, 549 (3d Cir. 2017). By contrast, where courts allow associational standing in discrimination

cases, they rely on circumstances absent here, like a challenge to a broadly applicable policy and

uncontested student-specific facts, which make it “unlikely that any of the students would need to

do much, if anything, in the lawsuit.” Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm.

for City of Bos., 89 F.4th 46, 55 (1st Cir. 2023).

       SCLJ’s demand for damages exacerbates its standing problem. “[W]hatever injury may

have been suffered” by SCLJ’s members “is peculiar to the individual member concerned, and

both the fact and extent of injury would require individualized proof.” Warth v. Seldin, 422 U.S.

490, 515-16 (1975). Accordingly, requests for damages are fundamentally different from requests

for injunctive relief, for which “it can reasonably be supposed that the remedy, if granted, will

inure to the benefit of those members of the association actually injured.” Id. at 515. Under a

straightforward application of Warth, associations like SCLJ lack “standing to sue on behalf of

[their] members when seeking monetary relief to compensate for [their] members’ injuries.”

Pharm. Care Mgmt. Ass’n v. Rowe, 429 F.3d 294, 307 (1st Cir. 2005); see also, e.g., Bano v. Union

Carbide Corp., 361 F.3d 696, 714 (2d Cir. 2004) (“We know of no Supreme Court or federal court

of appeals ruling that an association has standing to pursue damages claims on behalf of its

members.”). This black-letter law dooms SCLJ’s attempted participation and claimed damages.




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       B.      This Challenge Is Not Ripe For Adjudication.

       The Complaint should be dismissed because Plaintiffs fail the most basic Title VI

requirement of adequately alleging they complained to an appropriate MIT official about the

incidents alleged in their Complaint. See supra at 11-12. But even had they made such an

allegation, their claim would not be ripe for adjudication because Plaintiffs do not—and cannot—

allege that MIT has taken final action on any such complaints, a prerequisite to judicial review.

       Plaintiffs “bear the burden of alleging facts sufficient to demonstrate ripeness,” Reddy, 845

F.3d at 501, but they fail to shoulder that burden here. Ripeness is an Article III jurisdictional

requirement that “seeks to prevent the adjudication of claims relating to contingent future events

that may not occur as anticipated, or indeed may not occur at all,” rendering the court’s decision

an advisory opinion. Id. at 500. To demonstrate ripeness, “the party bringing suit [must] show both

that the issues raised are fit for judicial decision at the time the suit is filed and that the party

bringing suit will suffer hardship if ‘court consideration’ is withheld.” Lab. Rels. Div. of Constr.

Indus. of Mass., Inc. v. Healey, 844 F.3d 318, 326 (1st Cir. 2016) (emphasis supplied). Fitness

turns on “finality, definiteness, and the extent to which resolution of the challenge depends upon

facts that may not yet be sufficiently developed.” Roman Cath. Bishop of Springfield v. City of

Springfield, 724 F.3d 78, 89-90 (1st Cir. 2013).

       Plaintiffs cannot make those showings here. Their Complaint challenges MIT’s response

to recent events. It does so primarily under a deliberate-indifference theory, which does not impose

any fixed deadline for a response and, to the contrary, affords substantial latitude in the timing and

nature of the institution’s response. See, e.g., Adams v. Demopolis City Sch., 80 F.4th 1259, 1272

(11th Cir. 2023) (eight-month delay reasonable); Oden v. N. Marianas Coll., 440 F.3d 1085, 1089

(9th Cir. 2006) (nine-month delay reasonable). The deliberate-indifference standard recognizes




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that the types of actions institutions should take once they receive reports of unlawful

harassment—such as providing resources, conducting investigations, pursuing discipline, and

reviewing policies—take time. This standard is not meant to disregard “thoughtful consideration

of students’ rights” or require a headlong “rush to judgment.” M.L. ex rel. D.L., 86 F.4th at 512.

        The Complaint ignores that reality. To take just one example, Plaintiffs repeatedly criticize

MIT for allegedly failing to “discipline students [or] MIT organizations for … MIT policy

violations,” Compl. ¶ 217, and they demand that MIT “suspend[] or expel[] students and/or student

groups,” id. at 70. This criticism is doubly flawed, even setting aside that it seeks relief based on

alleged experiences of other students not parties to this action. But see supra at 19-20. First, as a

matter of institutional policy and basic fairness, MIT owes procedural protections to all parties

involved in a report and faces potential liability if it short-circuits the requisite process. See, e.g.,

Doe v. Stonehill Coll., Inc., 55 F.4th 302, 329-30 (1st Cir. 2022) (allowing claim against college

based on alleged failure to follow its own procedures). Second, MIT has imposed discipline for

policy violations, including suspending CAA, the student group that features most prominently in

the Complaint, pending the Committee on Discipline’s resolution of a formal complaint against

that group. Compl. ¶ 113 n.63. As MIT has reported to its community, there are many cases “in

various stages of the complaint resolution process (inclusive of cases that have been resolved).”

Ex. 7. Plaintiffs complain that the “permanent outcome” of one particular disciplinary case “is

unknown at this time,” Compl. ¶ 113 n.63, but that is precisely why their dispute is premature:

MIT is indisputably taking action, and it is entitled to complete its response before litigation.

        MIT is not aware of any case in this Circuit forcing an educational institution to defend the

adequacy of its response while that response was underway. Decisions allowing deliberate-

indifference claims have involved circumstances where the institution’s response culminated in a




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disciplinary decision or when the institution expressly decided not to take action. See Czerwienski

v. Harvard Univ., 666 F. Supp. 3d 49, 90-91 (D. Mass. 2023); Doe v. Brown Univ., 327 F. Supp.

3d 397, 410-11 (D.R.I. 2018). With good reason: “premature review not only can involve judges

in deciding issues in a context not sufficiently concrete to allow for focus and intelligent analysis,

but it also can involve them in deciding issues unnecessarily, wasting time and effort.” W.R. Grace

& Co. v. EPA, 959 F.2d 360, 366 (1st Cir. 1992). Even if MIT’s ongoing response does not

eliminate this dispute completely, it could meaningfully narrow the issues requiring judicial

resolution, which requires forbearance now. Roman Cath. Bishop of Springfield, 724 F.3d at 89.

       Against that backdrop, Plaintiffs cannot demonstrate the type of undue “hardship” that

ripeness also requires. McInnis-Misenor v. Me. Med. Ctr., 319 F.3d 63, 70 (1st Cir. 2003).

Plaintiffs have not demonstrated they will suffer “direct and immediate harm” cognizable under

Title VI if this Court withholds consideration of their claims until MIT completes the steps in

progress. Id. at 73; see supra at 8-11. By contrast, MIT is prejudiced if the Court adjudicates this

dispute now, which effectively cuts off MIT’s response—an outcome flatly inconsistent with the

Supreme Court’s overriding concern for institutional flexibility. See Davis, 526 U.S. at 648.

                                          CONCLUSION

       For these reasons, the Court should dismiss the Complaint in its entirety.

Dated: April 18, 2024                          Respectfully submitted,

                                               MASSACHUSETTS INSTITUTE OF
                                               TECHNOLOGY,

                                               /s/ Ishan K. Bhabha
                                               Ishan K. Bhabha (pro hac vice)
                                                 IBhabha@jenner.com
                                                 202.637.6327
                                               Lauren J. Hartz (pro hac vice)
                                                 LHartz@jenner.com
                                                 202.637.6363



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                                              JENNER & BLOCK LLP
                                              1099 New York Avenue, N.W., Suite 900
                                              Washington, DC 20001-4412

                                                      and

                                              Daryl J. Lapp (BBO No. 554980)
                                                daryl.lapp@lockelord.com
                                              Elizabeth H. Kelly (BBO No. 672277)
                                                liz.kelly@lockelord.com
                                              LOCKE LORD LLP
                                              111 Huntington Avenue
                                              Boston, MA 02199
                                              617.230.0100



                                 CERTIFICATE OF SERVICE

       I certify that a true copy of this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

on April 18, 2024.

                                              /s/ Ishan K. Bhabha
                                              Ishan K. Bhabha




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